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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXANDER CORDERO,                    )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
430 HURRICANE SHOALS LLC,             )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned counsel, and files this, his Complaint against Defendant 430

HURRICANE SHOALS LLC pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.


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      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

      4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff uses a wheelchair for mobility purposes.

      7.     Defendant      430    HURRICANE          SHOALS      LLC   (hereinafter

“Defendant”) is a Georgia limited liability company that transacts business in the

State of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Husain Kurji, 7760 St. Marlo Country Club Parkway,

Duluth, Georgia 30097.

                            FACTUAL ALLEGATIONS

      9.     On or about January 21, 2022, Plaintiff was a customer at “Philly


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Connection,” a business located at 450 Hurricane Shoals Road, N.W., Suite 1,

Lawrenceville Georgia 30046.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The two separate structures and

improvements situated upon said real property shall be referenced herein as the

“450 Facility” and the “420 Facility” (together, the “Facilities”), and said real

property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately four (4) miles from the Facilities and

Property.

      12.    Plaintiff’s access to the businesses located at 430 Hurricane Shoals

Road, N.W., Lawrenceville Georgia 30046 (of which 450 Hurricane Shoals Road,

N.W., Suite 1, Lawrenceville Georgia 30046 is a part, and also referenced as

Gwinnett County Property ID number R7009 033), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages

and/or accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facilities and Property, including those set forth in

this Complaint.


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      13.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to his access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    Each Facility is a public accommodation and service establishment.

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      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

his disabilities resulting from the physical barriers to access, dangerous conditions


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and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as


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required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      a.     The Property lacks an accessible route from the public sidewalk

             to the accessible entrance(s) of the 450 Facility, in violation of

             section 206.2.1 of the 2010 ADAAG standards.

      b.     The signs for the two accessible parking spaces on the Property

             most proximate to Suite 7 of the 450 Facility are not installed at

             a permissible height, in violation of section 502.6 of the 2010

             ADAAG standards.

      c.     The two accessible parking spaces on the Property most


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         proximate to Suite 7 of the 450 Facility and their centrally

         adjacent access aisle each have a slope in excess of 1:48 (one to

         forty-eight), and are not level, in violation of section 502.4 of

         the 2010 ADAAG standards.

d.       One of the two accessible parking spaces on the Property most

         proximate to Suite 7 of the 450 Facility has excessive amounts

         of broken pavement and vertical rises is excess of ¼” (one

         quarter inch) within its boundaries, in violation of section 502.4

         of the 2010 ADAAG standards.

e.       The access aisle centrally adjacent to the two accessible parking

         spaces on the Property most proximate to Suite 7 of the 450

         Facility is not wide enough, in violation of section 502.3.1 of

         the 2010 ADAAG standards.

f.       The access aisle centrally adjacent to the two accessible parking

         spaces on the Property most proximate to Suite 7 of the 450

         Facility is not level due to the presence of a ramp within the

         boundaries of said access aisle, in violation of section 502.4 of

         the 2010 ADAAG standards.

g.       The above-described ramp on the Property most proximate to


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         Suite 7 of the 450 Facility has a running slope exceeding 1:12

         (one to twelve), in violation of section 405.2 of the 2010

         ADAAG standards. The side flares of this ramp also have

         extreme slopes, in excess of 1:10 (one to ten), in violation of

         section 406.3 of the 2010 ADAAG standards.

h.       The accessible route on the Property between Suites 5 and 6 of

         the 450 Facility has a total rise greater than 6“ (six inches), but

         does not have handrails complying with section 505 of the 2010

         ADAAG standards, in violation of section 405.8 of the 2010

         ADAAG standards.

i.       The signs for the two accessible parking spaces on the Property

         most proximate to Suite 4 of the 450 Facility are not installed at

         a permissible height, in violation of section 502.6 of the 2010

         ADAAG standards.

j.       The two accessible parking spaces on the Property most

         proximate to Suite 4 of the 450 Facility and their centrally

         adjacent access aisle each have a slope in excess of 1:48 (one to

         forty-eight), and are not level, in violation of section 502.4 of

         the 2010 ADAAG standards.


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k.   The access aisle centrally adjacent to the two accessible parking

     spaces on the Property most proximate to Suite 4 of the 450

     Facility is not wide enough, in violation of section 502.3.1 of

     the 2010 ADAAG standards.

l.   The access aisle centrally adjacent to the two accessible parking

     spaces on the Property most proximate to Suite 4 of the 450

     Facility is also not level due to the presence of a ramp within

     the boundaries of said access aisle, in violation of section 502.4

     of the 2010 ADAAG standards.

m.   The above-described ramp on the Property most proximate to

     Suite 4 of the 450 Facility has a running slope exceeding 1:12

     (one to twelve), in violation of section 405.2 of the 2010

     ADAAG standards. The side flares of this ramp also have

     extreme slopes, in excess of 1:10 (one to ten), in violation of

     section 406.3 of the 2010 ADAAG standards.

n.   The ground surfaces within the required maneuvering

     clearances at the doors to the entrances of Suites 1, 2 and 3 of

     the 450 Facility each have improper changes in level, in

     violation of section 404.2.4.4 of the 2010 ADAAG standards.


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o.   The signs for the two accessible parking spaces on the Property

     most proximate to Suite 1 of the 450 Facility are not installed at

     a permissible height, in violation of section 502.6 of the 2010

     ADAAG standards.

p.   The access aisle centrally adjacent to the two accessible parking

     spaces on the Property most proximate to Suite 1 of the 450

     Facility is not wide enough, in violation of section 502.3.1 of

     the 2010 ADAAG standards.

q.   The access aisle centrally adjacent to the two accessible parking

     spaces on the Property most proximate to Suite 1 of the 450

     Facility is not level due to the presence of a ramp within the

     boundaries of said access aisle, in violation of section 502.4 of

     the 2010 ADAAG standards.

r.   The above-described ramp on the Property most proximate to

     Suite 1 of the 450 Facility has a running slope exceeding 1:12

     (one to twelve), in violation of section 405.2 of the 2010

     ADAAG standards. The side flares of this ramp also have

     extreme slopes, in excess of 1:10 (one to ten), in violation of

     section 406.3 of the 2010 ADAAG standards.


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      s.     The access aisle centrally adjacent to the two accessible parking

             spaces on the Property most proximate to the 420 Facility is not

             level due to the presence of a ramp within the boundaries of

             said access aisle, in violation of section 502.4 of the 2010

             ADAAG standards.

      t.     The base of the accessible ramp on the Property most proximate

             to the 420 Facility is broken, resulting in a vertical rise in

             excess of ¼” (one quarter inch), in violation of section 405.7 of

             the 2010 ADAAG standards. This ramp also lacks finished

             edges (or edge protection), in violation of section 405.9 of the

             2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, and more difficult and dangerous for Plaintiff to utilize the ramps on the

Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      33.    Plaintiff requires an inspection of Facilities and Property in order to


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determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

               34.   The Facilities and Property have not been adequately

maintained in operable working condition for those features of facilities and

equipment that are required to be readily accessible to, and usable by, persons with

disabilities, in violation of section 28 C.F.R. § 36.211.

               35.   Upon information and good faith belief, Defendant fails to

adhere to a policy, practice and procedure to ensure that all features and facilities at

the Facilities and Property are readily accessible to, and usable by, disabled

individuals.

      36.      The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.      All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      38.      Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.


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      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      40.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing


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Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facilities and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: February 2, 2022.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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